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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA

                           NOTICE OF SCHEDULING ORDER

     TO: MEMBERS OF THE BAR

      AT THE DIRECTION OF THE COURT IT IS ORDERED that the following
schedule is established for all the listed civil cases. If you have any questions concerning
this Order, please call Heather Cornwell at (843) 579-1408.

                           CASES FOR SCHEDULING ORDER

C/A 2:24-2836-DCN            Frankie’s Fun Park of Columbia LLC et al v United States
                             Small Business Administration et al

C/A 2:24-2894-DCN            Padilla v Director of United States Citizenship and Immigration
                             Services

C/A 2:24-3123-DCN            Barrs v Vines

C/A 2:24-3419-DCN            Carver Maritime LLC v M/V MSC Michigan VII et al

C/A 2:24-4126-DCN            Duncan v Sharp

C/A 9:24-3567-DCN            Progressive Northern Insurance Company v Soto et al

C/A 9:24-3815-DCN            Widicus et al v Donohue et al

C/A 9:24-3850-DCN            Carpenter v Donohue et al

C/A 9:24-3955-DCN            Charbon LLC v The Case Group LLC

     AND IT IS SO ORDERED.



                                             ________________________________
August 7, 2024                               DAVID C. NORTON
Charleston, South Carolina                   UNITED STATES DISTRICT JUDGE


**PURSUANT TO LOCAL RULE 83.I.06, THIS NOTICE IS BEING SENT TO LOCAL
                       COUNSEL ONLY**
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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA




     CONFERENCE AND                                              SCHEDULING ORDER
      AND RULE 26(F)                                               REPORT FORM


                                   JUDGE DAVID C. NORTON

                           NOTICE TO COUNSEL
Attached please find a proposed scheduling order for your review and comment. The 2000
Amendments to the Federal Rules of Civil Procedure, and subsequent amendments to the local
rules for this district, now require that, early in the litigation, counsel meet, confer, and submit
certain information to the court. Some of the requested information is needed to formulate a
scheduling order. The judges of this district have determined that the most feasible way of
accomplishing this is for the court to enter a tentative scheduling order with a request that the
parties meet and determine whether the dates proposed by the court are acceptable.

The deadline for meeting and conferring in this case is set out in Paragraph 1 of the attached
scheduling order. A form (RULE 26(F) REPORT) is attached and must be completed and returned
indicating your acceptance of, or suggested changes to, the scheduling order.

“A scheduling order is not a frivolous piece of paper, idly entered, which can be cavalierly
disregarded by counsel without peril.” Jordan v. E.I. du Pont de Nemours & Co., 867 F. Supp.
1238, 1250 (D.S.C. 1994). “The use of discovery closure dates and deadlines for disclosure of
experts are important tools for case management.” Serrano-Perey v. F.M.C. Corp., 985 F.2d
625, 628 (1st Cir. 1993).

The Local Civil Rules for the District of South Carolina, as well as the forms referenced in this
order, are available on this district’s website at:


                                 www.scd.uscourts.gov
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                            IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA


   Plaintiff(s),                                    )   CA: _______________________
                                                    )
   v.                                               )
                                                    )          RULE 26(f) REPORT
                                                    )
   Defendant(s).                                    )


          The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P., hereby report as
   follows (check one below):

           □       We agree that the schedule set forth in the Conference and Scheduling Order filed
                   August 7, 2024 is appropriate for this case. The parties’ proposed discovery
                   plan as required by Fed. R. Civ. P. Rule 26(f) and the information required
                   by Local Civil Rule 26.03 will be separately filed by the parties.

           □       We agree that the schedule set forth in the Conference and Scheduling Order filed
                   August 7, 2024 requires modification as set forth in the proposed Consent
                   Amended Scheduling Order which will be e-mailed to chambers as required (use
                   format of the Court’s standard scheduling order). The parties’ proposed
                   discovery plan as required by Fed. R. Civ. P. Rule 26(f) and the information
                   required by Local Civil Rule 26.03 will be separately filed by the parties.

           □       We are unable, after consultation, to agree on a schedule for this case. We,
                   therefore, request a scheduling conference with the Court. The parties’ proposed
                   discovery plan as required by Fed. R. Civ. P. Rule 26(f), with disagreements
                   noted, and the information required by Local Civil Rule 26.03 will be
                   separately filed by the parties.

               PLAINTIFF(S)                                    DEFENDANT(S)

________________________________________          ________________________________________
Signature of Plaintiff’s Counsel                  Signature of Defendant’s Counsel



________________________________________          ________________________________________
Printed Name of Plaintiff’s Counsel               Printed Name of Defendant’s Counsel
and Party Represented                             and Party Represented


Dated:                                            Dated:
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                              IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF SOUTH CAROLINA
                                      CHARLESTON DIVISION



                             CONFERENCE AND SCHEDULING ORDER
                                            of
                                HONORABLE DAVID C. NORTON


    Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this Court, the following
schedule is established for this case. This order is entered to administer the trial of cases in a manner
consistent with the ends of justice, in the shortest possible time, and at the least possible cost to litigants.
Discovery may begin upon receipt of this order.

    1.      Rule 26(f) Conference: A conference of the parties pursuant to Fed. R. Civ. P. 26(f) shall be
           held no later than September 9, 2024. 1

    2.      Rule 26(a)(1) Initial Disclosures: No later than October 11, 2024, the required initial
            disclosures under Fed. R. Civ. P. 26(a)(1) shall be made.

    3.      Rule 26(f) Report: No later than October 11, 2024, the parties shall file a Fed. R. Civ. P. 26(f)
            Report in the form attached to this order. 2

    4.      Amendment of Pleadings: Motions to join other parties and amend the pleadings shall be filed
            no later than October 28, 2024.

    5.      Expert Witnesses: Parties shall file and serve a document identifying by full name, address, and
            telephone number each person whom they expect to call as an expert at trial by the following
            dates: 3

                    Plaintiff:      December 16, 2024
                    Defendant:      January 17, 2025

    6.      Discovery: Discovery shall be completed no later than May 7, 2025. All discovery requests
            shall be served in time for the responses thereto to be served by this deadline. All depositions
            must be taken before this deadline.

    7.      Motions in Limine: Motions in limine must be filed at least three weeks prior to jury
            selection.

    8.      Dispositive Motions: All dispositive motions and all Daubert motions shall be filed on or before
            June 9, 2025. 4

    9.      Mediation: Pursuant to Local Civil Rule 16.04-.12, mediation shall be completed in this case
            on or before June 30, 2025. 5 Thirty (30) days prior to this, counsel for each party shall file and
            serve an ADR Statement and Certification under Local Civil Rule 16.03.
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    10.    Trial: This case will go to trial during the term of court beginning July 1, 2025.

The parties’ attention is directed to the attached SPECIAL INSTRUCTIONS FOR CASES BEFORE JUDGE DAVID
C. NORTON.


August 7, 2024
Charleston, South Carolina


Attachments:

       Special Instructions of Judge David C. Norton
       Rule 26(f) Report
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                                SPECIAL NOTICE TO COUNSEL
                                       WITH CASES BEFORE
                                   JUDGE DAVID C. NORTON,
                                  UNITED STATES DISTRICT JUDGE
      Please carefully review the following instructions which relate to problems which frequently arise regarding
      scheduling orders and related litigation management issues.

COURTESY COPIES
Unless specifically requested (see Judge Norton’s Preferences listed on our website), you should not send
a “courtesy copy” of any filed document to Judge Norton’s chambers. The court is automatically notified
when the original document is filed.

CORRESPONDENCE BETWEEN COUNSEL
Attorneys frequently copy the court on correspondence between counsel. This is seldom appropriate.
Unless correspondence is directly related to a pending motion, there is no reason to copy the court. If it
relates to a pending motion and is relevant to issues before the court, the correspondence should be filed
as an exhibit. If it merely relates to an anticipated motion (usually a discovery dispute), it would be more
appropriate simply to hold such correspondence and to attach it as an exhibit if a motion becomes
necessary.

EXTENSION OF DEADLINES
The deadlines in scheduling orders issued by this court are established after review of the parties’
Fed. R. Civ. P. 26(f) reports and interrogatory responses with careful consideration to the nature of the
case and the times requested for discovery. For this reason, extensions should seldom be necessary. If,
however, it becomes necessary to seek an extension, you may submit a motion addressing the following:

       ∙    Date of the current deadline;
       ∙    Whether the deadline has been extended before;
       ∙    The number of additional days requested, and proposed new deadline;
       ∙    Whether the extension would affect other deadlines; and
•                   If opposing counsel agrees to or opposes the extension.

Do not wait until the last day before the deadline to request an extension. Do not call chambers to
determine if the extension has been granted. You may, however, call the docket clerk in the Clerk’s
Office. Absent extraordinary circumstances, requests should be made sufficiently in advance to allow you
to receive a response before the deadline passes. See Local Civil Rule 6.01 and 6.02.

AMENDMENT OF PLEADINGS
This is the earliest deadline for a very important reason: to allow discovery to address all issues and all
potential parties. Late requests to amend are, therefore, strongly discouraged. This is especially true if
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the amendment would add a party. Any request to amend after the scheduling order deadline should
include an explanation of why the amendment could not have been sought earlier. Parties who delay
seeking to amend until late in the litigation, especially as to known potential parties, risk denial of their
motions.

FILING OF CONFIDENTIAL MATERIAL
The parties’ attention is specifically directed to Local Civil Rule 5.03 regarding the filing of confidential
material.

WEB SITE
The District of South Carolina maintains a web site with various forms and resources at:

                                           www.scd.uscourts.gov



1.     Plaintiﬀ’s counsel shall initiate the scheduling of the Rule 26(f) conference with all counsel known to
            plaintiﬀ regardless of whether they have ﬁled appearances. At conference, the parties shall confer
            concerning all matters set forth in Rule 26(f) and whether the schedule set forth in this order is
            appropriate and, if not, what modiﬁcations are necessary. See attached form – RULE 26(f) REPORT.

2.     Parties are hereby notiﬁed that Local Civil Rule 26.03 lists additional queries to be answered in the Rule
            26(f) Report. See also Local Civil Rule 26.02 (rules for answering court interrogatories).

3.     See Fed. R. Civ. P. 26(a)(2) and (a)(2)(B). Note that while Fed. R. Civ. P. 26(a)(2) does not require ﬁling any
            portion of the written report or disclosure, Judge Norton requires ﬁling of a document which
            identiﬁes the expert and certiﬁes compliance with this rule.

4.     The court routinely schedules hearings on substantive motions. The court will not consider arguments
            raised at hearings that were not included in the parties’ briefs nor will the court consider any new
            arguments raised in a reply brief.

5.     Standing Order to Conduct Mediation of Judge Norton, which sets forth additional mediation
           requirements applicable to this case available at www.scd.uscourts.gov.
